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                                     Nos. 23-1850, 23-2038

                                              In the

        United States Court of Appeals
                           For the Fourth Circuit
                                       __________________

        HONEYWELL INTERNATIONAL INC.; HAND HELD PRODUCTS, INC.; METROLOGIC
                               INSTRUMENTS, INC.,
                                                    Plaintiffs-Appellants,
                                                v.
                                   OPTO ELECTRONICS CO., LTD.,
                                                          Defendant-Cross-Appellant.
                                      __________________

                        On Appeal from the United States District Court
                          for the Western District of North Carolina
                                Case No. 3:21-cv-506-KDB-DCK
                                     __________________

         OPPOSITION TO MOTION TO DISMISS OR TRANSFER APPEALS
            TO U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                             __________________

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                                      INTRODUCTION

              This Court—and not the Federal Circuit—has jurisdiction over these

        appeals concerning an alleged breach of contract and various contract

        defenses. The only basis for Plaintiff Honeywell International Inc.’s motion

        to transfer is that in one of those contract defenses, Defendant OPTO

        Electronics Co. raised “the judicially created patent misuse doctrine,” Illinois

        Tool Works, Inc. v. Indep. Ink, Inc., 547 U.S. 28, 31 (2006), to prevent Honeywell

        from enforcing its misconstruction of a licensing agreement under Delaware

        law. But a patent misuse defense does not arise under any “Act of Congress

        relating to patent or plant variety protection.” 28 U.S.C. § 1295(a)(1). And

        this appeal involves no claim of patent infringement, no claim that any

        patent is invalid, no attempt to render any patent unenforceable, and

        nothing else that triggers the Federal Circuit’s narrow jurisdiction under

        § 1295(a)(1). The only patent misuse defense presented here—that part of a

        licensing agreement is unenforceable—has always been, and continues to be,

        within the jurisdiction of the regional courts of appeals.

              In fact, Honeywell agreed until just now. Honeywell filed its notice of

        appeal invoking this Court’s jurisdiction over three months ago, followed by

        an amended notice of appeal reiterating this Court’s jurisdiction. It filed a

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        docketing statement invoking this Court’s jurisdiction under 28 U.S.C.

        § 1291, participated in this Court’s mediation program, and filed a status

        report stating its plan to file its principal brief “in accordance with the

        current Briefing Order.” CA4 Dkt. 21 (Oct. 3, 2023). Only now—one day before

        its opening brief deadline—has Honeywell tried to switch horses midrace.

              Honeywell was right the first time. This case does not arise under any

        patent act; it is a breach of contract case. The patent misuse question here

        would prevent enforcement of certain provisions of a contract, not

        enforcement of any patent. At most, the patent misuse issue makes this one

        of the “non-patent patent cases” that “falls within the jurisdiction of the

        regional courts of appeals rather than the Federal Circuit.” Cnty. Materials

        Corp. v. Allan Block Corp., 502 F.3d 730, 732 (7th Cir. 2007).

              So this Court should deny Honeywell’s motion to transfer. The Court

        may also wish to defer resolution of Honeywell’s motion until the Federal

        Circuit resolves OPTO’s pending mirror-image motion to dismiss or transfer

        the identical appeals pending there to this Court. OPTO Fed. Cir. Transfer

        Motion, No. 24-1109 (Nov. 24, 2023). Postponing resolution of Honeywell’s

        motion here would sensibly allocate judicial resources and avoid the

        possibility of conflicting jurisdictional determinations. That course is also

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        appropriate given the Federal Circuit’s frequent experience determining the

        scope of its jurisdiction under § 1295(a)(1) (as amended), which (by contrast)

        is a matter of first impression in this Court.

                                       BACKGROUND

              The Settlement and License Agreement between Honeywell and

        OPTO required OPTO to pay royalties on the sales of certain barcode

        scanning products called “2D Barcode Products.” Agreement § 1.4 (Dkt. 163-

        2). In contrast, products defined as “1D Barcode Products” are not royalty-

        bearing products. Id. § 1.5. Instead, under the Agreement, Honeywell

        conveyed a covenant not to sue to OPTO for its sales of all 1D Barcode

        Products. Id. § 2.4. Honeywell’s Complaint asserted one count for breach of

        contract, alleging that OPTO failed to pay royalties on sales of all covered

        2D Barcode Products. Complaint ¶¶ 30-40 (Dkt. 1).

              The crux of the parties’ disagreement is over which OPTO products

        are “2D Barcode Products.” OPTO sells two distinct kinds of barcode

        scanning products. Its second-generation 2D imaging scanners use cameras

        (2D image sensors) and software to capture and decode electronic two-

        dimensional images of barcode symbols, including complex two-

        dimensional symbols like QR code. OPTO Resp. to Honeywell’s MSJ on

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        Contract Interpretation 2-3 (Dkt. 135). The parties do not dispute that these

        products are 2D Barcode Products under the Agreement, and OPTO timely

        paid all applicable royalties on sales of these second-generation products.

        OPTO Breach of Contract MSJ 3-4 (Dkt. 133).

              The dispute instead focuses on OPTO’s legacy first-generation laser

        scanners that, by contrast, measure varying light intensities reflected from a

        barcode’s surface during each laser scan to decode simple barcode symbols

        based on the measured widths of the alternating black bars and white spaces

        (the black bars absorb and reflect less light than the white spaces). OPTO

        Resp. to Honeywell’s MSJ on Contract Interpretation 2-3. OPTO’s laser

        scanners decode only symbols that use alternating bars and spaces to encode

        data, which can be either single row symbols like UPC symbols or multi-row

        symbols. Id. at 2-4. OPTO’s laser scanners do not decode complex symbols

        like QR code that utilize entirely different data encoding schemes. See id. at

        4-11. Although the products do not have a 2D image sensor, Honeywell

        contended that OPTO’s laser scanners are nevertheless 2D Barcode Products

        based solely on their operability to decode multi-row symbols. Id. at 12-13.

        Without conceding that multi-row symbols are “two-dimensional barcode

        symbologies” within the meaning of the Agreement and to limit its potential

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        liability, OPTO disabled the multi-row symbol decoding function in its laser

        scanners. OPTO Patent Misuse MSJ 6 (Dkt. 169). Since then, the laser

        scanners sold by OPTO decode only single-row symbols, and Honeywell

        makes no royalty demand on OPTO’s laser scanner sales now that the multi-

        row symbol decoding function is disabled.

              Honeywell nevertheless sued OPTO, demanding royalties on OPTO’s

        prior sales of laser scanners that were operable to decode multi-row

        symbols. OPTO contends that the text of the agreement and subsequent

        contracting history confirm that even OPTO laser scanners that decode

        multi-row symbols are 1D Barcode Products and not 2D Barcode Products

        because (1) the devices do not have a 2D image sensor and (2) multiple rows

        of alternating bars and spaces are not “two-dimensional barcode

        symbologies” within the meaning of the Agreement. OPTO Resp. to

        Honeywell’s MSJ on Contract Interpretation 19-20. If this Court agrees, then

        there is no breach of contract and there is no need to apply the patent misuse

        doctrine.

              The patent misuse defense only comes into play under Honeywell’s

        asserted reading of the contract as adopted by the district court. According

        to Honeywell, whether the laser scanners are 1D Barcode Products covered

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        by the covenant not to sue depends entirely upon their multi-row symbol

        decoding function—if turned on, then the products are 2D Barcode Products

        and there is no protection from the covenant not to sue but if turned off, then

        the products are 1D Barcode Products and the covenant applies. OPTO

        Patent Misuse MSJ 6. Honeywell therefore conditions the covenant not to

        sue and OPTO’s freedom to use any Honeywell patented technology in its

        1D Barcode Products on a single product function—a laser scanner’s

        operability to decode multi-row symbols. See id. at 6-7.

              If, as Honeywell contends, OPTO’s laser scanners are, in fact, 2D

        Barcode Products based solely on their operability to decode multi-row

        symbols, then Honeywell’s royalty demand results in patent misuse because

        Honeywell owns no active patents that preclude OPTO, or any other person,

        from decoding multi-row symbols with a laser scanner. Id. at 7. Honeywell

        had three such patents claiming laser decoding of multi-row symbols but

        each patent either expired or was abandoned before the parties signed the

        Agreement. OPTO Patent Misuse MSJ 4-6. Honeywell is therefore powerless

        to prevent the sale of a laser scanner (or demand patent royalties) solely

        because the device decodes multi-row symbols.



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              OPTO’s Answer thus raised, among other affirmative defenses, that

        Honeywell’s interpretation of the Agreement would result in OPTO paying

        royalties on products (OPTO’s laser scanners) otherwise protected by

        Honeywell’s covenant not to sue but for the products’ operability to perform

        a non-patented function—decoding multi-row symbols. See id. at Second

        Affirmative Defense ¶¶ 15-25. Honeywell’s conditioning of its covenant not

        to sue on the presence or absence of non-patented product features is an

        unlawful extension of Honeywell’s expired patents and the patents included

        in its covenant not to sue—and so would constitute per se patent misuse.

        Answer at 11–13. OPTO’s Answer likewise included, among others, a

        counterclaim asserting patent misuse for the same reasons.

              OPTO moved for summary judgment on per se patent misuse, seeking

        a declaration that “the royalty collection provisions of the Settlement and

        License Agreement [are] unenforceable” because the “‘licensing agreement

        provides royalties for post-expiration use of a patent.’” OPTO Patent Misuse

        MSJ 1-2 (quoting Kimble v. Marvel Ent., LLC, 576 U.S. 446, 459 (2015)). OPTO

        thus clarified that its patent misuse affirmative defense and counterclaim

        assert per se patent misuse under Kimble and that the relief it seeks is limited

        to an order declaring the offending contract royalty provision unenforceable.

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        OPTO thereby disclaimed any attempt to declare any patents invalid or

        unenforceable due to patent misuse. Id. at 10 (explaining that the

        “appropriate remedy in the present action … is not invalidation of … any

        patents belonging to Honeywell”), id. at 11 (“OPTO respectfully requests …

        an order dismissing Honeywell’s Complaint and declaring the royalty

        collection   provisions    of   the   Settlement    and     License   Agreement

        unenforceable”); Opposition to Honeywell Patent Misuse MSJ at 1 (Dkt. 187)

        (“As Honeywell has itself repeatedly emphasized, this is a breach of contract

        action, and not a patent infringement action. OPTO is not challenging the

        enforceability of any of Honeywell’s patents”); id. at 16 (“OPTO does not

        challenge the enforceability of any patent”) (emphasis in original). Instead, the

        only remedy sought for patent misuse was “an order declaring that the

        Agreement’s royalty provisions are unenforceable.” OPTO Patent Misuse

        MSJ at 10. The district court recognized that was the only remedy OPTO

        sought. SJ Order 17 n.11 (Dkt. 195) (“OPTO seeks an order dismissing




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        Honeywell’s Complaint in this case and declaring the royalty collection

        provisions of the Agreement unenforceable.”).1

              Although Kimble rejected a rule of reason analysis for a patentee’s

        demand for royalties on the use of expired patents, the district court held on

        summary judgment that there was no per se patent misuse. It instead

        required OPTO to present a rule of reason analysis of “Honeywell’s

        economic power over such technology” at trial. Dkt. 195 at 23. Following a

        bench trial, the district court held that OPTO failed to demonstrate that the

        “license agreement had anticompetitive effects,” and thus entered judgment

        against OPTO’s patent misuse defense. Dkt. 195, at 23; Dkt. 368 at 87-88.

              Honeywell then noticed an appeal in the Fourth Circuit, which it later

        amended. Honeywell CA4 Notice of Appeal at 1 (Dkt. 369); Honeywell

        Amended CA4 Notice of Appeal (Dkt. 395). Honeywell also filed a docketing

        statement invoking this Court’s jurisdiction under 28 U.S.C. § 1291, 2




        1 To be clear, OPTO is “not seeking to avoid the payment of royalties on its

        ‘2D Barcode Products’ that are not in dispute, only the approximately 50
        ‘laser scanning’ products that encompass the parties’ disagreement.” Id.

        2 Section 1291 sets forth the jurisdiction of the regional courts of appeals,

        explicitly excluding the Federal Circuit. 28 U.S.C. § 1291 (“The courts of

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        participated in this Court’s mediation program, and filed a status report

        stating its plan to file its principal brief “in accordance with the current

        Briefing Order.” CA4 Dkt. 21 (Oct. 3, 2023). On October 4, 2023, OPTO filed

        a cross notice of appeal in the Fourth Circuit. OPTO CA4 Notice of Appeal

        (Dkt. 398). Then, on October 27, 2023, Honeywell filed a parallel Notice of

        Appeal in the Federal Circuit on the alleged grounds that the Federal Circuit

        has jurisdiction based on the patent misuse judgment. Honeywell Fed. Cir.

        Notice of Appeal at 1 (Dkt. 402). On November 13, 2023—around six weeks

        after OPTO’s notice of appeal on patent misuse and the day before its

        opening brief was due—Honeywell moved to transfer. CA4 Dkt. 30.3




        appeals (other than the United States Court of Appeals for the Federal
        Circuit) shall have jurisdiction...”).

        3 Honeywell’s dilatory request to switch appellate forums prejudices OPTO

        for two reasons. First, there is (for now) a non-trivial monetary judgment
        accruing interest. Second, OPTO risks liability for ongoing monthly
        contractual late fees, the imposition of which will depend on the litigation’s
        outcome.

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                                         ARGUMENT

        I.    Federal Circuit jurisdiction is limited to claims or counterclaims
              arising under an “Act of Congress relating to patents.”

              The Federal Circuit’s jurisdiction is limited to appeals in a “civil action

        arising under, or in any civil action in which a party has asserted a

        compulsory counterclaim arising under, any Act of Congress relating to

        patents or plant variety protection.” 28 U.S.C. § 1295(a)(1). To satisfy that

        “arising under” test, “[i]t is not enough that patent law issues are in the air.”

        In re Lipitor Antitrust Litigation, 855 F.3d 126, 145 (3d Cir. 2017).

              Rather, a Federal Circuit case must “arise under” a patent act in one of

        two specific ways. First, a case arises under a patent act when such an act

        “creates the cause of action” asserted. Christianson v. Colt Indus. Operating

        Corp., 486 U.S. 800, 809 (1988). Second, a case can arise under a patent act if a

        claim “necessarily depends on resolution of a substantial question of federal

        patent law, in that patent law is a necessary element of one of the well-

        pleaded claims.” Id.

              Either way, § 1295(a)(1) confines the Federal Circuit’s jurisdiction to

        statutory patent issues. The Federal Circuit’s jurisdiction only extends to

        cases involving a claim or compulsory counterclaim “arising under” “any



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        Act of Congress relating to patents.” 28 U.S.C. § 1295(a)(1) (emphasis added).

        Honeywell’s analysis whistles past this statutory language. But ignoring the

        “Act of Congress” requirement would run “afoul of the cardinal principle of

        interpretation that courts must give effect, if possible, to every clause and

        word of a statute.” Loughrin v. United States, 573 U.S. 351, 358 (2014) (cleaned

        up). Furthermore, the “Act of Congress” language is distinct from § 1331’s

        extension of federal question jurisdiction to “all civil actions arising under

        the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. As

        the Supreme Court has “often noted,” when “Congress includes particular

        language in one section of a statute but omits it in another … this Court

        presumes that Congress intended a difference in meaning.” Loughrin, 573

        U.S. at 358. By adding the “Act of Congress” language, Congress made clear

        its intent to confine the Federal Circuit’s jurisdiction to statutory patent

        claims.

              The history of § 1295(a)(1) confirms that the statute does not inject

        nonstatutory patent-related issues like patent misuse to the Federal Circuit’s

        docket. Since the beginning of the Federal Circuit in 1982, most appellate




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        precedent on patent misuse arose in the regional courts of appeals.4 The 2011

        amendment to § 1295 was not meant to disturb that allocation of

        responsibility. Rather, the 2011 Leahy-Smith America Invents Act (“AIA”)

        amended the statute to ensure that compulsory counterclaims for patent

        infringement—the Federal Circuit’s bread and butter—would go to the

        Federal Circuit. See 125 Stat. 331 § 19(b) (Sept. 16, 2011). That amendment

        overruled    a   Supreme      Court    decision     holding    that   “compulsory

        counterclaim[s] alleging patent infringement” were outside the Federal

        Circuit’s jurisdiction. Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535

        U.S. 826, 828-30 (2002). That “Holmes Group fix” confirming the Federal




        4 See, e.g., Kimble v. Marvel Ent., LLC, 576 U.S. 446 (2015) (on writ of certiorari

        from the Ninth Circuit); Cnty. Materials Corp. v. Allan Block Corp., 502 F.3d
        730 (7th Cir. 2007); Scheiber v. Dolby Labs., Inc., 293 F.3d 1014, 1016 (7th Cir.
        2002); Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1214–21 (9th
        Cir. 1997); Clausen Co. v. Dynatron/Bondo Corp., 889 F.2d 459, 465 (3d Cir.
        1989); Meehan v. PPG Inds., Inc., 802 F.2d 881 (7th Cir. 1986); Boggild v. Kenner
        Prods., Div. of CPG Prods. Corp., 776 F.2d 1315, 1317 (6th Cir. 1985). This
        continues a long history of pre-Federal Circuit regional court decisions on
        the doctrine. Compton v. Metal Prods., 453 F.2d 38, 43 (4th Cir. 1971); E.
        Venetian Blind Co. v. Acme Steel Co., 188 F.2d 247 (1951).


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        Circuit’s jurisdiction over all patent infringement claims did not disturb the

        regional circuits’ jurisdiction over nonstatutory issues like patent misuse.5

        II.   No patent Act creates any cause of action in OPTO’s counterclaims.

              Honeywell correctly refrains from arguing (and forfeits any argument)

        that any “Act of Congress relating to patents” creates the cause of action in

        OPTO’s patent-misuse counterclaim. Motion 4-6. To the contrary, the

        Answer states that OPTO’s “counterclaims arise under Delaware common

        law and North Carolina statutory law.” Answer at 17 (emphasis added). At

        no point does OPTO raise a claim under federal law, much less under an Act

        of Congress relating to patents.

              No patent act creates any cause of action for patent misuse anyway.

        Courts, including the Supreme Court, have consistently held that patent

        misuse is a “judicially created” doctrine. Illinois Tool Works, 547 U.S. at 31; B.

        Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1427 (Fed. Cir. 1997) (“the

        patent misuse doctrine is an extension of the equitable doctrine of unclean




        5 “Senate Debate — 157 Cong. Rec. S1378 (Senator Kyl) (calling the
        amendment the “Holmes Group fix”) in Patrick A. Doody, Comprehensive
        Legislative History of the Leahy-Smith America Invents Act 473-76.


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        hands”). And the en banc Federal Circuit explained that patent misuse

        “developed as a nonstatutory defense to claims of patent infringement.”

        Princo Corp. v. Int’l Trade Com’n, 616 F.3d 1318, 1321 (Fed. Cir. 2010) (en banc)

        (emphasis added); see also B. Braun Med., Inc., 124 F.3d at 1427 (the patent

        misuse doctrine arose “to restrain practices that did not in themselves violate

        any law” but “were deemed to be contrary to public policy”). 6 Thus there is

        no statutory basis of the defense of patent misuse.

              Nor has Congress transformed this judge-made doctrine into statutory

        patent law. Motion 8. All Congress has said is what is not patent misuse. See

        35 U.S.C. § 271(d). By doing so, Congress cabined (rather than created) the

        judge-made doctrine. 7 And it is undisputed that § 271(d) has nothing to do

        with the patent misuse argument in this case. See Motion 8 (not arguing




        6 Citing Kimble v. Marvel Entertainment, LLC, Honeywell asserts that
        “Supreme Court has observed that questions of patent misuse arise under
        the patent laws.” Motion 8. Not so: Kimble did not address intermediate
        appellate jurisdiction at all.

        7 The legislative history of Section 271(d) confirms that the doctrine remains

        judge-made law. Statement of Rep. Kastenmeier in 9 Chisum on Patents -
        Patent Misuse Reform (“Patent misuse is a judicially developed doctrine of
        patent law”).

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        otherwise). So no “Act of Congress” creates the cause of action on which

        Honeywell relies.

        III.   No counterclaim depends on resolution of any substantial question
               under any patent Act.

               Honeywell instead argues that this appeal “‘necessarily depends on

        resolution of a substantial question of federal patent law.’” Motion 5 (quoting

        Christianson, 486 U.S. at 809). That theory fails for the same reason as above:

        OPTO’s counterclaim does not require resolution of any question under an

        “Act of Congress relating to patents,” period. See Part II supra. But the

        Federal Circuit also lacks jurisdiction for an independent reason: even if

        there were any relevant statutory patent question, it would not be a necessary

        and substantial question.

               A.   Substantial question jurisdiction is narrow and rare.

               To determine whether a claim raises a “substantial question” under a

        patent act, courts look “to the importance of the issue to the federal system

        as a whole.” AbbVie, Inc., 976 F.3d 327, 347 (3d Cir. 2020) (applying Gunn v.

        Minton, 568 U.S. 251, 260 (2013)) in a case involving § 1295). As Gunn

        explains, this is a “special and small category.” 568 U.S. at 258. OPTO’s

        counterclaim presents no substantial question of importance to the federal



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        patent system generally for the same reasons that other courts have rejected

        similar jurisdiction.

              The Supreme Court set out the modern “arising under” test in Gunn v.

        Minton. The case concerned an attorney malpractice claim. Gunn, 568 U.S. at

        255. Plaintiff alleged that the defendants, his former attorneys, had failed to

        make an argument in a separate proceeding, resulting in the invalidation of

        his patent. Id. The Court “acknowledge[d] that resolution of a federal patent

        question [was] ‘necessary’ to [plaintiff’s] case,” id. at 259,8 but found that the

        question was not substantial to “the federal system as a whole,” id. at 260. A

        finding on this question, the Court reasoned, would be “fact-bound and

        situation-specific” and would, at most, be limited to the parties. Id. at 263




        8 In the original action, the plaintiff had brought a patent infringement case

        against a company. In defense, the company cited 35 U.S.C. § 102(b) and
        asserted that the plaintiff’s patent was invalid because the product had been
        “on sale” for over a year before plaintiff filed for a patent. Gunn, 568 U.S. at
        254. In the malpractice case, Plaintiff argued that his attorneys failed to raise
        the “experimental use” exception to the “on sale” bar. Id. This exception, as
        the Federal Circuit has explained, is not a “free-standing doctrinal exception
        to statutory bars.” EZ Dock v. Schafer Sys., Inc., 276 F.3d 1347, 1351 (Fed. Cir.
        2002). Instead, it is part of “the inquiry on application of the statutory bar
        itself.” Id. at 1352. Therefore, that experimental use question is part and
        parcel of a question under “an Act of Congress relating to patents.”


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        (quotation marks and citation omitted). Therefore, allowing the state court

        to decide the question would not threaten the “uniformity” of

        interpretations of federal patent acts. Id. at 263-64. The malpractice case did

        not “arise under” an Act of Congress relating to patents.

              Applying Gunn, in MDS (Canada) Inc. v. Rad Source Technologies, Inc.,

        the Eleventh Circuit considered a case, like this one, over the scope of a

        patent license agreement. 720 F.3d 833 (11th Cir. 2013) (per curiam). The

        Plaintiffs brought various claims, including for declaratory relief that the

        defendant’s new product “embodied” a patent covered by the agreement.

        Id. at 840.9 The appeal required review of the district court’s patent claim

        construction, and “necessarily raise[d]” a claim of patent infringement under

        35 U.S.C. § 271. Id. at 841-42, 846-48. Even so, the Eleventh Circuit found that

        it retained jurisdiction because this question was “heavily fact-bound” and

        lacked substantial importance to the federal system, as required by Gunn. Id.

        at 842. As the Eleventh Circuit held, “the Federal Circuit [does not have]

        exclusive jurisdiction to hear an appeal of a breach of contract claim that




        9 As this action was brought before the AIA, only the Plaintiff’s claims (and

        not any compulsory counterclaims) were relevant to the Eleventh Circuit’s
        jurisdictional analysis. MDS (Canada), 720 F.3d at 841.

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        would require the resolution of a claim of patent infringement for the

        complainant to succeed.” Id. at 837-38.

              In Federal Trade Commission v. AbbVie, Inc., 976 F.3d 327 (3d Cir. 2020),

        the Third Circuit likewise determined that it, not the Federal Circuit, had

        jurisdiction over a case of alleged patent abuse. The Federal Trade

        Commission (“FTC”) sued the defendant companies alleging that they had

        engaged in sham patent infringement suits and had entered into anti-

        competitive reverse-payment agreements with another company. Id. at 338.

        Looking at the sham patent litigation theory, the only possible theory for

        patent jurisdiction, the Court determined that it did not present a substantial

        question because the theory was “purely backward looking” and would not

        disturb the settlements in the purportedly sham litigation cases. Id. at 349.

        Because the Third Circuit would not adjudicate the merits of the

        infringement claims, its decision would not implicate the uniformity

        protected by the Federal Circuit. Id. at 350.

              B.    There is no substantial question of patent validity or
                    enforceability here.

              As those cases illustrate, OPTO’s patent misuse counterclaim raises no

        substantial question under any patent act.



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                    1.      This appeal presents a factbound, backward-looking
                            question of patent misuse.

              First, the patent misuse question here is factbound and would not

        address any forward-looking issues with Honeywell’s patents. Such a

        question is not a substantial one requiring exclusive Federal Circuit

        jurisdiction. See AbbVie, 976 F.3d at 349 (“purely backward looking” issue

        not substantial); MDS (Canada), 720 F.3d at 842 (“Because this question … is

        heavily fact-bound, our resolution of this question is unlikely to control any

        future cases.”).

              The appeal is limited to addressing the specific way that Honeywell

        tried to interpret this specific contract with OPTO. See Opposition to

        Honeywell Patent Misuse MSJ 8 (“Honeywell’s contract interpretation

        results in patent misuse.”). There are no patent claim terms to construe, no

        prior art to compare to a patent’s claims, and no patent infringement

        contentions to resolve. Even the incidental need to perform those patent-

        related tasks to resolve a contract dispute does not create a substantial

        question of patent law. See, e.g., MDS (Canada), 720 F.3d at 837-38 (no Federal

        Circuit jurisdiction over “a breach of contract claim that would require the




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        resolution of a claim of patent infringement”). But this contractual dispute

        does not even present those patent-related issues.

              Indeed, OPTO’s patent misuse counterclaim rises or falls, not on

        questions of patent law, but on the parties’ competing contract

        interpretations. Cf. DuVal Wiedmann, L.L.C. v. Inforocket.com, Inc., 374 F.

        App’x 482, 484 (5th Cir. 2010) (“It is well settled that if the patentee pleads a

        cause of action based on rights created by a contract, ... the case is not one

        ‘arising under’ the patent laws”) (quoting Jim Arnold Corp. v. Hydrotech Sys.,

        Inc., 109 F.3d 1567, 1572 (Fed. Cir. 1997)). As Honeywell itself put it, “This is

        a straightforward contract dispute that boils down to a simple question:

        Does the License and Settlement Agreement’s definition of royalty-bearing

        ‘2D Barcode Products’ encompass OPTO’s so-called ‘laser scanning barcode

        readers’?” Honeywell MTD OPTO’s Counterclaims 1 (Dkt. 21). When the

        contract’s definitions of royalty-bearing products are properly construed as

        urged by OPTO, there is no patent misuse because the accused OPTO laser

        scanners are non-royalty-bearing products within the scope of Honeywell’s

        covenant not to sue. In contrast, Honeywell’s patent misuse arises only when

        the contract is interpreted as urged by Honeywell and adopted by the district



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        court below as requiring patent royalties on OPTO’s sales of laser scanners

        based solely on their operability to perform a non-patented function.

              As a practical matter, Honeywell’s patent misuse is directed to a finite

        number of past laser scanner sales that predate OPTO’s removal of the non-

        patented multi-row barcode decoding function. See supra at 4-5. Honeywell

        demands no royalties and OPTO asserts no patent misuse regarding OPTO’s

        current laser scanner sales. The patent misuse question on the license

        agreement here is thus a backward-looking question without future effect.

        See also Seed Co. Ltd. v. Westerman, 832 F.3d 325, 331 (D.C. Cir. 2016) (finding

        that the D.C. Circuit has jurisdiction over a case that does not involve

        “forward-looking questions about any patent’s validity”); Westlake Services,

        LLC v. Credit Acceptance Corp., 800 F. App’x 505, 508 (9th Cir. 2020) (finding

        that the Ninth Circuit has jurisdiction over a claim that “will have no

        practical effect on the patent at issue nor will it impact the development of

        federal patent law”). There is thus little or no chance that resolution of this

        question affects future patent litigation.10




        10 Transferring this case would not promote “uniformity” in the patent
        misuse doctrine. Motion 1. Patent misuse may be raised as an affirmative
        defense (rather than counterclaim) that creates no § 1295(a)(1) jurisdiction,

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                    2.    This appeal        presents      no   question     of   patent
                          enforceability.

              Second, nothing about OPTO’s counterclaim affects the validity or

        enforceability of Honeywell’s patents. See Aurafin-OroAmerica, LLC v. Fed.

        Ins. Co., 188 F. App’x 565, 566 (9th Cir. 2006) (unpublished) (“Patent misuse

        does not allege infringement of one’s patents…. patent misuse is not a true

        intellectual property claim”); E. Venetian Blind Co., 188 F.2d at 254 (it is “well

        established that even if a patentee has in the past misused his patents, he is

        entitled to equitable relief after the misuse has been fully abandoned”). All

        OPTO requests is a declaration that the Agreement’s royalty provisions are

        not enforceable against OPTO’s sales of laser scanners operable to perform

        the non-patented function of decoding multi-row bar-space symbols. See Bd.

        of Regents Univ. of Tex. v. Nippon Tel. & Tel. Corp., 414 F.3d 1358, 1362 (Fed.

        Cir. 2005) (“special attention [should be] directed to the relief requested”).




        and some courts hold that patent misuse may be raised only as an affirmative
        defense. See Robert Matthews, 4 Annotated Patent Digest § 28:3 (citing
        cases). So the regional courts of appeals will continue to have jurisdiction
        over patent misuse affirmative defenses in any event. OPTO pled patent
        misuse as both an affirmative defense and counterclaim as a belt-and-
        suspenders.


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              Honeywell hangs its hat on the false notion that the patent misuse

        issue in this appeal is about “patent unenforceability.” Motion 4-9. But there

        are no active patents to be enforced here. Honeywell demands royalties on

        OPTO laser scanner sales based solely on functionality once claimed in

        expired or abandoned Honeywell patents. See supra at 4-5; see also Chandler v.

        Phoenix Servs. LLC, 1 F.4th 1013, 1016 (Fed. Cir. 2021) (patent question not

        substantial where “[t]he enforceability of the patent is no longer at issue”).

              In those cases, the Supreme Court prescribes that the remedy is to

        decline enforcement of contract royalty provisions requiring post-expiration

        patent royalties. See Brulotte v. Thys Co., 379 U.S. 29, 32 (1964) (“a patentee’s

        use of a royalty agreement that projects beyond the expiration date of the

        patent is unlawful per se”); see also Kimble, 576 U.S. 446. That is why OPTO

        has repeatedly stated that the remedy for Honeywell’s patent misuse is

        holding the contract royalty provisions unenforceable as to OPTO’s sales of

        laser scanners—not holding any patent unenforceable. See supra at 7-9.

              Honeywell      supposes      the    Answer’s      reference   to   “patent

        unenforceability” is dispositive under the well-pleaded complaint rule.

        Motion 4 n.2. Not so. The well-pleaded complaint rule merely determines

        jurisdiction based on the necessary elements of the claim, rather than

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        “‘anything alleged in anticipation or avoidance of defenses.’” Motion 4 n.3

        (quoting Christianson, 486 U.S. at 809). But that rule does not require courts

        to turn a blind eye to the record revealing the nature of that claim. “Rather,

        ‘in the context of possible federal-question jurisdiction,’ it is appropriate for

        the court to conduct an examination of the record as a whole ‘to reveal the

        true nature of the plaintiff’s claim.’’’ Old Dominion Elec. Co-op v. PJM

        Interconnection, Inc., 24 F.4th 271, 284 n.9 (4th Cir. 2022) (quoting 14C Charles

        A. Wright et al., Federal Practice & Procedure § 3734 (rev. 4th ed. 2021))

        (holding it proper to “consider[] matters outside the pleadings” in

        jurisdictional analysis). Here, the record confirms that the patent misuse

        issue in this case (which is based on Honeywell’s allegations of a breach of

        contract) concerns the unenforceability of a contract. Honeywell’s theory of

        Federal Circuit jurisdiction thus fails because the record confirms there is no

        question of patent enforceability.

                                       CONCLUSION

              For these reasons, this Court should deny Honeywell’s Motion to

        Transfer. The Court may also consider deferring this question until the

        Federal Circuit addresses its jurisdiction under 28 U.S.C. § 1295(a)(1) by

        resolving OPTO’s motion to dismiss or transfer pending there.

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        Dated: November 27, 2023         Respectfully submitted,


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              1.    This brief complies with the type-volume limitations of Fed. R.

              App. P. 27(d)(2)(A) because it contains 5,163 words, excluding the

              parts of the brief exempted by Fed. R. App. P. 32(f).

              2.    This     brief   complies    with   the    typeface      and   type-style

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                                                /s/ Brian D. Schmalzbach
                                                Brian D. Schmalzbach




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                                  CERTIFICATE OF SERVICE

              I hereby certify that on November 27, 2023, the foregoing was filed

        with the Clerk of the United States Court of Appeals for the Fourth Circuit

        using the appellate CM/ECF system, which will also serve counsel of record.


                                            /s/ Brian D. Schmalzbach
                                            Brian D. Schmalzbach




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